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    SO ORDERED.

    SIGNED this 24 day of May, 2019.



                                                                 ____________________________________
                                                                 David M. Warren
                                                                 United States Bankruptcy Judge
______________________________________________________________________




                          IN THE UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF NORTH CAROLINA
                                      RALEIGH DIVISION

     IN RE:                                         )
                                                    )
     RAYMOND D PEET                                 )                  CASE NO. 19-00954-5-DMW
     SSN: XXX-XX-6576                               )
                                                    )                          CHAPTER 7
     KATHRYN M PEET                                 )
     SSN: XXX-XX-4855                               )
                                                    )
                                                    )
                                            DEBTORS )

                                               ORDER

           THIS CAUSE upon consideration of the Motion by Nationstar Mortgage LLC d/b/a Mr.
    Cooper ("Movant") for relief from the Automatic Stay as to the property located at 308 Neuse
    Ridge Dr, Clayton, NC ("subject property"). The Court finds:

           1.   That the Movant holds a Promissory Note secured by a valid lien against the
                subject property. The lien is evidenced by a Deed of Trust in the original amount of
                $417,000.00 dated May 15, 2009 and recorded in Book 3704, Page 364, Johnston
                County Registry, North Carolina.

           2.   Pursuant to the Debtors' Statement of Intent the subject property is being
                surrendered.

           3.   Movant lacks adequate protection as there is no equity in the subject property and
                the Debtors have defaulted on the contractual mortgage payments.

           4.   For the reason herein provided and consistent with 11 U.S.C. § 362(d)(1) & (2) the
                Court finds there are grounds for relief from the automatic stay.

           IT IS, THEREFORE, ORDERED that the motion is GRANTED and the stay afforded by
    11 U.S.C. § 362 is terminated as to the Movant and its successors or assigns. Movant may
    enforce the Deed of Trust in the original amount of $417,000.00 dated May 15, 2009, and
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 recorded in Book 3704, Page 364, Johnston County Registry, North Carolina and collect or
 recover the indebtedness thereby secured. Movant may proceed with foreclosure or by any
 other action which may be available to them with respect to the property described therein or
 with respect to the proceeds of any sale thereof. Movant is also allowed to assess $681.00 to
 the mortgage account for expenses incurred in filing the Motion for Relief.

                                     END OF DOCUMENT
